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      Demetrius Sissac                                                                                                      -
PLAlNTlFFIPETmoNERlMoVANTS NA.'<1E
      AR - 3472
                                                                                           FILEr
PRISON NUMBER
                                                                                             SEP -Ii L,,;
                                                                                                     'r, '.)

      calipatria State Prison                                                          - - - ----_.
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PLACE OF CONFINEMENT                                                           sou I H Fn;~ OIS·1'11eT Of- 'U" l-GdNIA
                                                                               BY                                   uc PUTY
       7018 Blair Rd. calipatria, CA 92233
ADDRESS
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                                                                                                        "'~N../
                                                                                                       -MOTION
                                                                                                        ~ .L. /If.


                                 United States District Court
                                   Southern District Or California
           .•
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                                                             Civil No. _ _'16CV2287
                                                                            _____   BAS
                                                                                     __ JLB
                                                                                         _ _ _ __
       Demetrius Sis sac                           .                    (To BE FILLED IN BY u.s. DISTJUCT COUR.T CLfJU:.)
                         PlaintifflPetitionerlMovant
                                            ..
                                            '



                            Y.                               MOTION AND DECLARATION UNDER
                                                             PENALTY OF PERJURY IN SUPPORT
       W.L. Montgomery                                       OF MOTION TO PROCEED IN FORMA
                             DefendantlRespondent            PAUPERIS


I.      Demetrius Sis sac
declare that I am the Plaintiff7PetitionerlMovant in this case. In support of my request to proceed without
prepayment of fees or security under 28 U.S.C. § 1915. I further declare I am unable to pay the fees of this
proceeding or give security because of my po~erty. and that l believe I am entitled to redress .

In further support of this application, I answer .the following question under penalty or perjury:
I. Are you currently incarcerated? 1l!l Yes 0 No       (If "No· go to question 2)
     If "Yes," state the place of your incarceration  calipatria State Prison
    Are you employed at the institution?                    0 Yes 19 No
    Do you receive any payment from the institution? 0 yes 19 No
   [Have the institution fill out the Certificate portion of this affidavit and .nach a certified copy of the trust
   account statement from the institution of your incarceration showing at least the last six months transactions.]




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      2. Are you currently employed? DYes SNo
         a. If the answer is "Yes," state the amount of your take-home salary or wages and pay period and give the name
         and address of your employer.__________________              '_________________________ ________




         b. If the answer is "No" state the date of your last employment, the amount of your take-home salary or wages
         and pay period and the name and address of your last employer.____________________________




      3. In the past twelve months have you received any money from any of the following sources?:
         a. Business, profession or other self-employment   □ Yes E No
         b. Rent payments, royalties interest or dividends  □ Yes ES No
         c. Pensions, annuities or life insurance           □ Yes SNo
         d. Disability or workers compensation              □ Yes 0No
         e. Social Security, disability or other welfare    □ Yes SNo
         e. Gifts or inheritances                           □ Yes SNo
         f. Spousal or child support                        □ Yes SNo
         g. Any other sources                               □ Yes SNo

         If the answer to any of the above is "Yes" describe each source and state the amount received and what you
         expect you will continue to receive each month.    ______________ ;




      4. Do you have any checking account(s)? 50 Yes QNo
         a. Name(s) and address) nf barters* Ms Bagp , 5500 aossimt toter ttive, U Masa, tt 9i%2

         b. Present balance in account(s):    $0.20

      5. Do you have any savings/IRA/money market/CDS' separate from checking accounts? DYes IS No
         a. Name(s) and address(es) of bank(s):______________________ -   _________________________
         b. Present balance in account(s):______________________________________ __________________

      6. Do you own an automobile or other motor vehicle?     □ Yes    l?§ No
         a. Make:                        Year:               Model:
         b. Is it financed? □ Yes □ No
         c. If so, what is the amount owed?




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      7. Do you own any real estate, stocks, bonds, securities, other financial instruments, or other valuable property?
          □ Yes E No
         If "Yes" describe the property and state its value._________________________________




      8. List the persons who are dependent on you for support, state your relationship to each person and indicate how
         much you contribute to their support.        _______________ ;____________________ _____.




      9. List any other debts (current obligations, indicating amounts owed and to whom they are payable):




      10. List any other assets or items of value (specify real estate, gifts, trusts inheritances, government bonds, stocks,
         . savings&ertificates, notes, jewelry, artwork, or any other assets (include any items of value held in someone
           else's name]):                                                                                                 '




      12. If you answered all of the items in #3 "No," and have not indicated any other assets or sources of income
          anywhere on this form, you must explain the sources of funds for your day-to-day expenses.
            The State of California provides my every need while I am
            incarcerated. Food, clothing and housing is all provided by the
            State.
      I declare under penalty of perjury that the above information is true and correct and understand that a
      false statement herein may result in the dismissal of my claims.




           ozIt,l              /l&
                           Date                                             Signature of Applicant




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 If you are a prisoner you must have an officer from your institution provide this official certificate as to tht
 amount of money in your prison account. There are no exceptions to this requirement.



                                     PRISON CERTIFICATE
                                  (Incarcerated applicants only)
                         (To be completed by the institution of incarceration)


 I certify that the applicant                                           Sissac


                                                   AR3472

 has the sum of $    C2) ~ Q) O                     on account to his/her credit at

                                          Calipatria State Prison
                                                (NAME OF INSTITUTION)


 I further certify that the applicant has the following securities
                                                                                    ^ \yx
 the past six months the applicant's average monthly balance was $                 Q) • Cb O

 and the average monthly deposits to the applicant's account was $

    ALL PRISONERS MUST ATTACH A CERTIFIED COPY OF THEIR TRUST ACCOUNT
       STATEMENT SHOWING TRANSACTIONS FOR THE SIX-MONTH PERIOD
IMMEDIATELY PRECEDING THE FILING OF THE COMPLAINT PER 28 U.S.C. & 1915(alf2).



                      DATE                                      SIGNATURE OF AUTHORIZED OFFICER OF INSTITUTION




                                                                          OFFICER’S FULL NAME (PRINTED)


                                                   N&ClC                         ^
                                                                              OFFICER'S TITLE/RANK   ^
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        DateNTime: 8/22/2016 12:21:57 PM            CDCR           Verified:
        lnstitution:'CAL
                                           Inmate Statement Report
        Start Date:   2/1/2016       Revalidation Cycle:   All

i       End Date:     8/22/2016      Housing Unit:         All

        Inmate/Group#: AR3472




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*   *1 >   *r
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    DateYTime: 8/22/2016 12:21:57 PM               CDCR           Verified:
    Institution: 'CAL
                                          Inmate Statement Report
     CDCR#               Inmate/Group Name                Institution            Unit               Cell/Bed
     AR3472              SISSAC, DEMETRIUS                CAL                    A 003 2            241001

     Current Available Balance:                   $0.00

    Transaction List
     Transaction
     Date        Institution      Transaction Type               Source Doc#             Receipt#/Check#             Amount         Account Balance
                                                   **No information was found for the given criteria.**

    Encumbrance List
     Encumbrance Type                Transaction Date                            Amount
                                                   **No information was found for the given criteria.**

     Obligation List

                                                                                                          Sum of Tx for Date
     Obligation Type           Court Case#            Original Owed Balance                                  Range for Oblg         Current Balance
                                                   **No information was found for the given criteria.**

     Restitution List

                                                                                                               Sum of Tx for Date
     Restitution       Court Case#       Status                 Original Owed Balance Interest Accrued           Range for Oblg     Current Balance
     RESTITUTION       SCE311020         Active                                $200.00               $0.00                  $0.00           $200.00
     FINE
     RESTITUTION       SCD245648         Active                            $10,000.00                $0.00                  $0.00          $9,045.56
     FINE




                                                     THE WITHIN INSTRUMENT IS A CORREOI
                                                  K COPY OF THE TRUST ACCOUNT MAINTAINED
                                                  qa BY THIS OFFICE.
                                                  M) ATTEST:
                                                  y CAIpiEQRNIA DEPARTMENT OF CORRECTIONS
                                                      BY     <5.-                            .
                                                            TRUST OFFICE




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                                                     TRUST ACCOUNT WITHDRAWAL AUTHORIZATION
                                                               (Incarcerated applicants only)


                       (This form MUST be completed by the prisoner requesting to proceed in forma pauperis. An incomplete
                       "Trust Account Withdrawal Authorization Form," or "Prison Certificate" .will result in automatic denial of
                       the prisoner’s request to proceed in forma pauperis.^


                        I,     Demetrius Sissac                                     , request and authorize the agency holding me in
                             (Name of Prisoner/ CDC No.)
                       custody to prepare for the Clerk of the United States District Court for the Southern District of California, a •
                       certified copy of the statement for the past six months of my trust fund account (or institutional equivalent)
                       activity at the institution where I am incarcerated.
                                      *•

                        I further request and authorize the agency holding me in custody to calculate and disburse funds from my
                       trust fund account (or institutional equivalent) pursuant to any future orders issued by the Court relating to
                       this civil action pursuant to the Prison Litigation Reform Act ofl 995, Pub. L. No. 104-134, Title VIII, § § 801-
                       10, 110 Stat. 1321 (1996).


                        This authorization is furnished in connection with a civil action filed in the Southern District of California,
                       and I understand that, pursuant to 28 U.S.C. §§1914 and 1915(b)(1), the total amount of filing fees for which
                       I am obligated is either □ $350 (civil complaint) or DJ $5 (habeas corpus petition) (check one). I also
                       understand that this fee will be debited from my account regardless of the outcome of this action. This
                       authorization shall apply to any other agency into whose custody I may be transferred.



                         Off At /I i
                                              Date                                               Signature of Prisoner




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